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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ELLEN UMANSKY,

                         Plaintiff,
                                                               CIVIL ACTION
       v.                                                      NO. 17-4712

MELTON INTERNATIONAL TACKLE, et
al.,

                         Defendants.


                                            ORDER

       AND NOW, this 27th day of September 2018, upon consideration of Plaintiffs’ Motion

to Schedule an Evidentiary Hearing to Assess Damages and then Judgment (Doc. No. 27) and

the Evidentiary Hearing held in open court on September 26, 2018, at which Plaintiff Ellen

Umansky was present and Defendant Melton International Tackle, Inc. failed to appear, it is

hereby ORDERED as follows:

       1.       Plaintiffs’ Motion to Schedule an Evidentiary Hearing to Assess Damages and

                then Judgment (Doc. No. 27), which incorporates a request for entry of judgment

                by default, is GRANTED.

       2.       Judgment is entered in favor of Plaintiff Ellen Umansky and against Defendant

                Melton International Tackle, Inc. on Count I (Breach of Contract/Breach of

                Implied Duty of Good Faith and Fair Dealing), Count II (Unjust Enrichment),

                Count III (Fraud/Fraudulent Misrepresentation), and Count IV (Violations of

                Pennsylvania Unfair Trade Practices & Consumer Protection Law).
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3.       On Counts I, II, and III, compensatory damages are awarded in favor of Plaintiff

         Ellen Umansky and against Defendant Melton International Tackle, Inc. in the

         amount of $14,929.

4.       On Count IV, treble damages in the amount of $44,787 are awarded in favor of

         Plaintiff Ellen Umansky and against Defendant Melton International Tackle, Inc.

         for violation of the Pennsylvania Unfair Trade Practices & Consumer Protection

         Law, plus $400 in costs.

5.       The award on Counts I, II, and III is included in the amount of treble damages

         awarded on Count IV.

6.       The total amount awarded on Counts I to IV in favor of Plaintiff Ellen Umansky

         and against Defendant Melton International Tackle, Inc. is $45,187.

                                              BY THE COURT:



                                              / s / J oel H. S l om s k y
                                              JOEL H. SLOMSKY, J.
